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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

In the Matter of the reassignment of ORDER
Civil Cases to the Honorable Miroslav Lovric OF REASSIGNMENT

 

ORDERED that the following cases are hereby reassigned to the Honorable Miroslav
Lovric, U.S. Magistrate Judge, These cases will remain assigned to the presiding U.S. District
Judges:

Case Number Caption

1) 5:11-cv-1202 (NAM/DEP) Zehner v. Board of Education of the Jordan-Elbridge
Central School District, et al

2) 5:14-cv-1565 (TIM/DEP) Irvine v. City of Syracuse, et al

3) 5:15-cv-327 (GLS/DEP) J & W Trading and Leasing, Inc. v. Beth Van Doren, et al

4) 5:16-cv-622 (BKS/DEP) Johnson v. The City of Syracuse, et al

5) 5:17-cv-54 (LEK/DEP) Jennings v. Decker, et al

6) 5:17-cv-378 (BKS/DEP) Barr v. Bass Pro Outdoor World, LLC

7) 5:17-cv-522 (DNH/DEP) Rotondo v. Best Buy Stores, LLC

8) 5:17-cv-549 (MAD/DEP)  360Heros, Inc. v. Mainstreet America Assurance Co.

9) 5:17-cv-570 (LEK/DEP) Upstate New York Engineers Health Fund, et al v. John F.
and John P. Wenzel Contractors, Inc., et al

10)  5:17-cv-933 (BKS/DEP) Wolongevicz v. Town of Manlius, et al

11)  5:17-cv-1356 (GTS/DEP) Horsey v. Tripp, et al

12) 5:18-cv-43 (TJIM/DEP) Noakes v. Syracuse University

13) 5:18-cv-150 (DNH/DEP) Burton v. Abraham, et al

14)  5:18-cv-272 (BKS/DEP) Tripolone v. United Air Lines, Inc., et al

15)  5:18-cv-307 (TJM/DEP) Cortland Line Holdings, LLC, et al v. Lieverst

16) 5:18-cv-330 (LEK/DEP) Buczakowski v. Crouse Health Hospital, Inc.

IT IS SO ORDERED.

Dated: July 1, 2019
Syracuse, New York

   

Northern District of N.
